                    Case 15-02091   Filed 08/27/15     Doc 191

E6                   UNITED STATES BANKRUPTCY COURT

                     EASTERN DISTRICT OF CALIFORNIA



In re:                                    Case No. 12-21477-C-7

YOUSIF H. HALLOUM,                        Adversary No. 15-2091
                                          DC Nos. MLG-1 and DIK-5
                   Debtor(s)

YOUSIF H. HALLOUM, et al.,

                 Plaintiff(s),
                                                             HLED                11
                                                             AUG 272015
V.

HILTON A. RYDER, et al.,                             UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF CALIFORNIA

                 Defendant(s).


         MEMORANDUM DECISION ON MOTIONS MLG-21 AND DIK-5



     This adversary proceeding was originally filed by Yousif
("Joe") H. Halloum and Iman Y. Halloum in the Superior Court of
California, County of San Francisco, on February 13, 2015, as
case number CGC-15-544168. It seeks redress for the loss of the
plaintiffs' business as the result of a bankruptcy case pending
in this court.
     The defendants are: Hilton A. Ryder; McCormick, Earstow,
Sheppard, Wayte & Carruth ("McCormick Barstow"); David I. Katzen;
Katzen & Schuricht; Scott H. McNutt; Michael C. Abel; McNutt Law
Group; Alan Scott Koenig; and Michael G. Kasolas, individually
and as Chapter 7 trustee; and Does 1-25.
     Plaintiff Yousif Halloum is the debtor in the voluntary
bankruptcy case No. 12-21477, U.S. Bankruptcy Court, Eastern
                      Case 15-02091   Filed 08/27/15   Doc 191



 1 District of California, filed January 26, 2012, as a Chapter 11

2 case and converted to Chapter 7 on February 12, 2014.

3         Defendant Ryder, a partner in defendant law firm McCormick
4 Barstow, was counsel to the debtor, who acted as debtor-in-

5    possession performing the duties of the trustee until defendant

6 Kasolas was appointed to act as Chapter 11 trustee on November
 7 22, 2013. Defendant Kasolas became the Chapter 7 trustee upon

 8 the conversion to Chapter 7.
 9        Defendants Katzen, a partner in defendant law firm Katzen &
10 Schuricht, and defendant Koenig are attorneys who represent the
11 financial institution, Bank MidWest, that was the plaintiff's

12 principal adversary in the bankruptcy case.

13        Defendants McNutt and Abel, partners in defendant law firm
14 McNutt Law Group, are counsel who represent dfendant Kasolas in

15   the bankruptcy case.
16        The action filed in the state court was removed by defendant

17   Kasolas from the state court pursuant to 28 U.S.C. § 1452(a) as

18   an adversary proceeding to the U.S. Bankruptcy Court for the

19   Northern District of California.
20        The U.S. Bankruptcy Court for the Northern District of
21 California thereafter transferred the adversary proceeding
22 pursuant to 28 U.S.C. § 1412 to the U.S. Bankruptcy Court for the

23 Eastern District of California.
24
25                     Adversary Proceeding Complaint
26        The complaint in the adversary proceeding contains a 12-page
27 allegation of facts that focus exclusively on the conduct of the
28 bankruptcy case and the actions of the defendants in the

                                      - 2 -
                    Case 15-02091   Filed 08/27/15   Doc 191



bankruptcy case. The factual allegations are followed by five

causes of action.
     The first cause of action is for legal malpractice against

defendant Ryder.
     The second cause of action is for breach of contract against

defendant Ryder.
     The third cause of action is for civil conspiracy against
defendants, Ryder, McCormick Barstow, Katzen, and Katzen &

Schuricht.
     The fourth cause of action is for civil conspiracy against

all defendants.
     The fifth cause of action is for intentional interference
with prospective economic advantage against all defendants.


                           Procedural History
     All defendants filed motions for summary judgment. This
court ordered an evidentiary hearing at which the plaintiffs were
directed to present all their evidence in support of their claims
and to identify aspects that require discovery.
     That evidentiary hearing was consolidated with the
evidentiary hearing necessitated by the decision of the
Bankruptcy Appellate Panel in, Halloum v. McCormick, Barstow,
Sheppard, Wayte & Carruth, No. EC-14-1219, filed May 19, 2015,
vacating this court's order on the final fee application of
defendants Ryder and his law firm and remanding for findings of
fact so that it could better assess the merits of plaintiff
Yousif Halloum's objections to that fee award. That fee
application is a contested matter governed by Federal Rule of

                                    - 3 -
                 Case 15-02091   Filed 08/27/15   Doc 191



Bankruptcy Procedure 9014.
     In other words, the hearing was simultaneously a trial of a

contested matter regarding the remanded fee dispute and an
evidentiary hearing regarding the plaintiffs' case in the

adversary proceeding.
     The evidentiary hearing was held on August 12 and 13, 2015.

Plaintiff Yousif Halloum testified and was cross-examined in his
adversary proceeding case in chief and offered no other
witnesses. Plaintiff Iman Halloum elected not to testify. Fee
applicant and defendant Hilton Ryder testified regarding the fee

application and was cross-examined by Mr. Halloum, whose
testimony in the adversary proceeding case in chief also applied

to his case in opposition to the fees.
     The court announced its findins of fact and conclusions of
law orally on the record pursuant to Federal Rule of Civil
Procedure 52(c), incorporated by Federal Rule of Bankruptcy
Procedure 7052 and 9014, on August 25, 2015.
     This memorandum decision supplements the findings of fact
and conclusions of law. To the extent that there may be an open

summary judgment question (as to which formal findings of fact
are not in order), it operates as the court's alternative
decision.


             Procedure Recardino Adversary Proceedin
     Under Civil Rule 52(c), if a party has been fully heard on
an issue during a nonjury trial and if the court finds against
the party on that issue, it is appropriate for the court to make
findings of fact and conclusions of law and to enter a judgment

                                 - 4 -
                  Case 15-02091   Filed 08/27/15   Doc 191



on partial findings. Fed. R. Bankr. P. 52(c), incorporated by
Fed. R. Bankr. P. 7052.
     The adversary proceeding entails a nonjury trial
notwithstanding that the complaint contains a jury demand. The

plaintiffs are not entitled to trial by jury. Each of them
invoked bankruptcy jurisdiction. Plaintiff Yousif Halloum did so
when he filed the chapter 11 case. Plaintiff Iman Halloum
invoked bankruptcy jurisdiction when she came into the bankruptcy

court to enforce her rights under 11 U.s.c. § 363(i) and managed
to cause the trustee's sale to the purchaser to be delayed.
LanQenkamp v. cuip, 498 U.S. 42, 44 (1990); Hickman v. Hana (In
re Hickman), 384 B.R. 832, 836-40 (9th cir. BAP 2008) (act of
filing bankruptcy case disentitles debtor to jury trial)
     There was ample notice that the evidentiary hearing would be
subject to civil Rule 52 (c) . The court repeatedly referred to

the rule in open court.
     The court instructed the plaintiffs to prepare and present
all of their evidence at the evidentiary hearing and to identify
additional evidence that they believe would be able to be
established through discovery. The plaintiffs did present all
their evidence.
     The only concrete request to permit discovery by the
plaintiffs was by subpoena to the FDIC for the notes of the bank
examination that led to the FDIc's seizure and takeover to the
bank (defendant Bank MidWest's predecessor) that made the
original loan to the plaintiffs. They believe that such
information would establish an animus on the part of Bank
MidWest. This court concludes that such information would be

                                  - 5 -
                          Case 15-02091   Filed 08/27/15   Doc 191



 1       beyond the scope of discovery as not being reasonably calculated

2        to lead to the discovery of admissible evidence. Fed. R. Civ. P.

 3       26(b) (1), incorporated by Fed. R. Bankr. P. 7026. Even if

4        relevant, any such evidence would be cumulative because there is

 5       ample evidence in the record of the reluctance of Bank MidWest to

 6       have any further dealings with the plaintiffs and of its outright

 7       distrust of the plaintiffs.

 8            Nor does the addition of Doe defendants 1-25 affect the

 9       analysis. Doe pleading is not recognized in federal practice.

10       The Doe defendants are being dismissed.

11            Hence, the debtors have been fully heard within the meaning

12       of Civil Rule 52(c)
13
14                      Procedure Regarding Fee Application

15            The procedure regarding the fee application is

16       straightforward. As the Bankruptcy Appellate Panel explained in

17       its May 19 memorandum decision, an opposed fee application is a

18       contested matter subject to Rule 9014 in which the court is

19       required to make findings of fact and conclusions of law

20       sufficient to give the appellate court a clear understanding of

21       the basis of the trial court's decision. BAP Slip Op. at 10.
22            The evidentiary hearing included the full trial of the fee
23       application contested matter. The final fee application and all
24       the interim fee applications, accompanied by all billing records,
25       were introduced in evidence. The fee applicant testified and was
26       cross-examined by the objector.
27            There was no challenge to the amount of time billed or to
28   I   the billing rates charged. Rather, the objector focused on his

                                          - 6 -
                      Case 15-02091   Filed 08/27/15   Doc 191



 ii contentions that his counsel had been disloyal, committed legal
2    malpractice, breached his contract, and conspired against the

3    debtor.


 5                     Merits of the Fee Application

 6        This court has made comprehensive findings of fact and

 7   conclusions of law regarding the fee application by Mr. Ryder and

 8   McCormick Barstow in which it considered all of the points raised

 9   by the debtor in his objection and by the debtor in the relevant

10   evidence regarding fees. Those findings, which are memorialized

11   in a separate order (Order on Remand from Bankruptcy Appellate

12   Panel, filed August 26, 2015, Docket #943), lead to the

13   conclusion that Mr. Ryder was retained on an hourly basis and

14   that his full fee request constitutes reasonable compensation for

15   actual, necessary services to the estate under all applicable

16   standards of 11 U.S.C. § 330(a).

17
18                                    Trustee

19        It is settled law that a trustee may be sued only with leave

20   of the court that appointed the trustee. Barton v. Barbour, 104

21   U.S. 126, 128 (1881); Beck v. Ft. James corp. (In re crown

22   Vantage, Inc.), 421 F.3d 963, 970-71 (9th cir. 2005).

23        The plaintiffs' action against Mr. Kasolas filed in the

24   state superior court alleges only activity associated with the

25   stewardship by Mr. Kasolas of the bankruptcy estate.
26   Accordingly, the assertion that he is being sued in his

27   individual capacity in addition to his capacity as trustee is a

28   transparent sham not made in good faith and is stricken.

                                       - 7 -
                      Case 15-02091   Filed 08/27/15   Doc 191



 1       This court did not grant permission to sue the trustee. End
2 of analysis. The action against Mr. Kasolas is dismissed.

 3
4                                   Preemttion

 5        The adversary proceeding is based on the manner in which the
 ['I defendants acted during the bankruptcy case. The complaint is
 7 self-consciously one that seeks damages for what the various

 8 defendants did in the case in this bankruptcy court. As such,
 9 the claims asserted are completely preempted by the structure and
10 purpose of the Bankruptcy Code.

11        The Ninth Circuit has explained in exhaustive detail the
12 various state-law claims asserted in the complaint. MSR
13 Exploration, Ltd. v. Meridian Oil, Inc., 74 F.3d 910, 912-16 (9th

14 Cir. 1996) ("MSR")
15        Bankruptcy is a matter of exclusive federal jurisdiction.

16   Congress has expressed its intent to have only a federal forum by

17   placing jurisdiction over bankruptcy cases exclusively in federal

18 court.    28 U.S.C. § 1334(a).     MSR, 74 F.3d at 913.

19        The complex, detailed, and comprehensive provisions of the
20 Bankruptcy Code indicate the intention of Congress to create a
21 whole system under federal control to bring together and adjust
22 all the rights and duties of creditors and debtors in a manner
23 that makes it unlikely that Congress meant to permit state
24 remedies to be superimposed on activities taken in the management

25   of the bankruptcy process. MSR, 74 F.3d at 914.

26        Bankruptcy law inherently requires uniformity among the

27   states, which persuaded the framers of the United States

28   Constitution to make an express grant of the power to establish

                                      - 8 -
                        Case 15-02091   Filed 08/27/15   Doc 191



 1   uniform laws on the subject of bankruptcies throughout the United

 2   States.   U.S. CONS., Art. I, § 8, ci. 4; MSR, 74 F.3d at 914.

 3          There are numerous remedies in the Bankruptcy Code that are

 4   pertinent to the plaintiffs' dissatisfaction. An attorney for a

 5   debtor in possession can be stripped of fees if the counsel

 6   represents an interest adverse to the estate.. 11 U.S.C.

 7   § 328 (c) . An attorney can be forced to disgorge compensation

 8   that exceeds the reasonable value of services. 11 U.S.C.

 9   § 329(b). Claims can be disallowed. 11 U.S.C. § 502. The
10   trustee's bond can be surcharged. 11.U.S.C. § 322. A creditor
11   who rejects a plan not in good faith can have its rejection

12   disregarded.    11 U.S.C. §§ 1126(c)-(e) . Collusive sales are

13   subject to damages, costs, and fees.         ii U.S.C. § 363(n). The

14   court has authority to enforce or implement court orders or rules

15   or to prevent an abuse of process. 11 U.S.C. § 105(a). These

16   and other remedies in the Bankruptcy Code and Federal Rules of

17   Bankruptcy Procedure preempt state-law remedies. MSR, 74 F.3d at

18   915.
19          The Ninth Circuit has found complete preemptions of

20   California state-law actions for malicious prosecution,

21   negligence, defamation, false light, abuse of process,
22   intentional and negligent infliction of emotional distress, and
23   negligent misrepresentation. Miles v. Okun (In re Miles), 430
24   F.3d 1083, 1086 (9th Cir. 2005); MSR, 74 F.3d at 916; Gonzales v.
25   Parks, 830 F.2d 1033, 1035-36 (9th Cir. 1987)
26          This adversary proceeding is completely preempted.
27

28

                                        - 9 -
                      Case 15-02091   Filed 08/27/15   Doc 191



                      The Substantive Causes of Action

          To the extent the adversary proceeding might be regarded as
     not preempted, the plaintiffs have been fully heard on all of

     counts and findings of fact and conclusions of law have been

5    rendered orally on the record.

6         Plaintiff Yousif Halloum made a well-organized presentation

 7   divided into seventeen items, backed by exhibits for each item.

 8 He testified in accordance with that presentation. This court
 9 made its findings tracking the points and the logic of that
10 presentation in which plaintiff Yousif Halloum told his story his

11 way.
12        The following discussion covers the same ground and

13 supplements the oral findings but does so tracking the five
14 causes of action alleged in the complaint.

15
16                First Cause of Action: Legal Malpractice

17        As this court explained in its oral findings, it does not
18 perceive any breach of duty by defendant Ryder and, accordingly,
19 finds against the plaintiff, who has been fully heard, on this
20 cause of action.
21        In addition, this court's separate determination on the
22 contested fee application (Order on Remand from Bankruptcy
23 Appellate Panel, filed August 26, 2015, Dkt. #943) operates under
24 the rules of res judicata to preclude the malpractice action for
25   precisely the same reasons that District Judge Breyer concluded
26   that fee determinations by bankruptcy courts operated to preclude
27   a separate legal malpractice action. Shaw v. Replogle (In re
28   Shaw), 2000 Westlaw 1897344, at *5 - *7 (N.D. Cal. 2000); accord,

                                      - 10 -
                      Case 15-02091   Filed 08/27/15   Doc 191



 1 Potter v. Pierce, 342 P.3d 54, 57-61 (N.M. 2015)

2         Plaintiff Yousif Halloum will have full and fair opportunity
3 to obtain appellate review of the separate order that has been
4 entered on remand reinstating the original fee award.

 5        In short, the plaintiffs having been fully heard pursuant to

 6   Rule 52(c) on this count, the court finds against them.

 7
 8              Second Cause of Action: Breach of Contract

 9        As this court explained in its oral findings, defendant
10 Ryder did not breach the Attorney-Client contract.
11        Plaintiff Yousif Halloum's argument that there was a fixed
12 fee contract is based on an incorrect factual premise. The
13 statement included with the schedules to satisfy Rule 2016(b), on
14 which the assertion is premised, does not operate to create a

15   contract and is perfectly consistent with the actual contract,

16   which was on a retainer basis calling for hourly compensation.

17   The actual retainer agreement signed by both plaintiff Yousif
18 Halloum and defendant Ryder is in evidence. More important, this
19 court's order authorizing the employment called for hourly
20 "lodestar" compensation and not a fixed fee.
21        To the extent there has been a breach of contract, it is a
22 breach by plaintiff Yousif Halloum in unjustifiably repudiating

23 the retainer agreement.
24        In short, the plaintiffs having been fully heard pursuant to
25   Rule 52(c) on this count, the court finds against them.
26
27
28

                                      - 11 -
                      Case 15-02091   Filed 08/27/15   Doc 191



                  Third Cause of Action: Civil Conspiracy
         As this court explained in its oral findings, there is no
     credible evidence that any of the alleged conspiratorial
     agreements existed. Rather, the record establishes that
 5 defendant Ryder and the defendant counsel for Bank MidWest were
 6 working at arm's length throughout the case and without any

 7 design to prolong the case.

 8        This court is persuaded that the problems in reaching
 9 agreement lay with the clients. Bank MidWest developed a deep-
10 seated and visceral mistrust of the debtor. And the debtor was
11 abnormally intransigent.

12        The debtor takes great umbrage at defendant Ryder's
13 suggestion to counsel for Bank MidWest that the bank's
14 nondischargeability action could be allowed to remain on the

15   books after confirmation of a chapter 11 plan as a "stick" to

16   assure performance of the plan. The choice of the word "stick"

17   may have been inelegant and unfortunate, but this type of
18 arrangement as an incentive to promote performance of a confirmed
19 plan is a reasonable and common way to defuse the enmity of a

20 mistrustful creditor.
21        While the debtor does not believe that he had any duty to
22 disclose to Bank MidWest's predecessor bank that his financial
23 difficulties occasioning the need for additional credit was the
24 result of losses on the order of $500,000 in stock market

25   speculation that were funded by the debtor's business, the
26 allegations of implied misrepresentation to that effect in the
27 adversary proceeding complaint by the bank had sufficient merit
28   that it was not likely that the complaint would, as the debtor

                                      - 12 -
                      Case 15-02091   Filed 08/27/15   Doc 191



 1   assumes, have been dismissed out of hand by this court. In that

2    context, the suggestion by defendant Ryder to the bank's counsel

 3   that the adversary proceeding could remain on the books to be

4    subsumed within the bankruptcy discharge if the debtor

 5   successfully completed a confirmed plan of reorganization.

 6        The debtor's refusal to consider the proposal had a material

 7   and deleterious effect on the progress of the case. In short,

 8   responsibility for the impasse in the case lies with the

 9   intransigence of the debtor himself.

10        Nor does the refusal of defendant Ryder to seek to equitably

11   subordinate the claim of Bank MidWest pursuant to 28 U.S.C.

12   § 510(c) suggest a conspiracy. When USbank conceded that it had

13   an incorrectly perfected security interest in the carwash located

14   at the plaintiffs' business premises, that did not automatically

15   mean that the value of the carwash (which was considerably less

16   than the $450,000 asserted by the plaintiffs) was unencumbered.

17   Rather, the after-acquired property clause in Bank MidWest

18   security agreement operated to included the carwash. Defendant

19   Ryder declined to seek equitable subordination of Bank MidWest
20   because he did not perceive the type of misconduct necessary to

21   amount to a meritorious case warranted by existing law.
22        In short, the plaintiffs having been fully heard pursuant to

23   Rule 52(c) on this count, the court finds against them.
24
25                Fourth cause of Action: civil conspiracy
26        As this court explained in its oral findings, there is no
27   credible evidence of any agreement, express or implied, by any or
28   all of the defendants to loot the estate and destroy the business

                                      - 13 -
                      Case 15-02091   Filed 08/27/15   Doc 191



 1 after the trustee was appointed.
2         The fate of the case was still in plaintiff Yousif Halloum's
3 hands. The concessions that were necessary to achieve a
4 consensual plan were not great. Defendant Kasolas, when first

 5   appointed as Chapter 11 trustee with instructions to evaluate
 6 whether a plan was possible, opined that there was reason to

 7   believe that a plan could be agreed upon. He made clear that
 8 success could be achieved only with the cooperation of plaintiff
 9 Yousif Halloum. The tragedy of this case is - and it is a
10 genuine tragedy because it did not have to happen - that the
11 requisite cooperation was not forthcoming. Instead, Mr. Halloum
12 fixated on his theory that defendant Ryder had breached a
13 fictional fixed fee agreement and conspired with the adversary.
14        When this court converted the case to chapter 7, it made
15 clear that it could be reconverted if a consensual plan was

16   agreed upon. When such a plan was not forthcoming, it

17   reluctantly authorized the trustee to liquidate the assets.

18        In short, the plaintiffs having been fully heard pursuant to
19 Rule 52(c) on this count, the court finds against them.

20
21            Fifth Cause of Action: Intentional Interference
                    with Prospective Economic Advantage
22
          As this court explained in its oral findings, there is no
23
     evidence that this court, as trier of fact, believes to support
24
     the allegations that the defendants sabotaged the efforts of
25
     plaintiff Iman Halloum to obtain funding to exercise her right to
26
     purchase pursuant to 11 U.S.C. § 363(i).
27
          Hearsay correspondence that is tendered by the plaintiffs,
28

                                      - 14 -
                       Case 15-02091   Filed 08/27/15   Doc 191



 1 and admitted into evidence as Ex. Q-1 without objection despite
2 its hearsay status, to support the assertion that financing was
 3 in place to accomplish the purchase does not make the case. The

     August 2, 2014, letter of John Arno, who apparently was acting as

 5   intermediary with the proposed lender, indicates that the trustee

 6 did grant access to the proposed lender's environmental engineer.

 7   That letter also makes clear that a condition of the loan was

 8 proof that plaintiff Iman Halloum had $550,000 cash available
 9 from "family funds" to complete the purchase. The letter
10 purports to attach proof that such funds were available.

11        Mr. Arno in Ex. Q-1 expresses puzzlement about "what
12 possibly motivated the Lender not to proceed, when by all other
13 indications at the time, the Lender was ready to make the loan,
14 subject to minimal conditions set out at the top of page 2 in the

15   attached document."
16        Although the plaintiffs infer that the only likely

17   explanation is interference by the defendants, there is a more

18   plausible explanation.
19        The bank account statements attached to demonstrate the
20 availability of $550,000 cash that were part of the "minimal
21 conditions" do not add up to $550,000 and, in this court's
22 experience are too variable to inspire confidence in any lender
23 considering making a $1.8 million loan.
24        There is a statement of account from USbank of an account
25   owned by Saiwa N. Halloum or Haitham Y. Halloum showing a balance
26   of $19,308.49 as of April 11, 2014, and of a USbank account in
27 the name of Esam Halloum showing a balance of $191,834.20 as of
28   April 17, 2014   (showing a wire transfer deposit of $190,481.70

                                       - 15 -
                 Case 15-02091   Filed 08/27/15   Doc 191



from "Habib Amer nyc" on April 7, 2014)           The total at USbank was

$209, 790.19.
     In addition, there are two statements of account from the
National Bank of Abu Dhabi, Al Ain Mall Branch. An account in
the name of Haitham Yousif Halloum opened December 3, 2014, shows
a current balance as of April 17, 2014, in the amount of
875,350.00 United Arab Emirates Dirham ("AED") . The other
account in the name of Esam Yousif Halloum, opened February 19,
2014, shows a current balance as of April 17, 2014, of 106,333.00

AED. The total is 981,683 AED.
     At current exchange rates, 981,683 AED is less than

$268, 000.
     The total amount of family funds identified in the bank
statements placed in evidence was less than $478,000. As this
was less than the lender's requirement of $550,000 to be made
available by the family and relied on the doubtful assumption
that the family members would hand over all of their funds to the
plaintiffs, it is no wonder that a lender would elect not to

proceed.
      In short, the plaintiffs having been fully heard pursuant to
Rule 52(c) on this count, the court finds against them.


                     Summary Judgment Analysis
      To the extent that it is necessary to analyze the pending
motions on summary judgment standards, this court is persuaded
that, taking facts in the light most favorable to the nonmoving
party, there is no genuine issue of material fact remaining for
trial and the movants (all defendants have now joined the

                                 - 16 -
                 Case 15-02091   Filed 08/27/15   Doc 191



motions) are entitled to judgment as a matter of law.
     The dominant feature of the present situation is that the
putative issues of fact under the plaintiffs' conspiracy theory

are not genuine issues.
     If it were to be concluded that there is a jury-trial right,
no rational jury could find in favor of the plaintiffs.




     Appropriate orders will issue.
     Dated: August 27, 2015.


                                  rL
                     UNITED STA±\/ANKRUPTCY JUDGE




                                 - 17 -
                         Case 15-02091   Filed 08/27/15   Doc 191




                         INSTRUCTIONS TO CLERK OF COURT
                                  SERVICE LIST

     The Clerk of Court is instructed to send the attached
document, via the BNC, to the following parties:


Yousif H. Halloum
111 Silver Could P1
Danville CA 94526

Scott H. McNutt
219 9th Street
San Francisco CA 94103

Hilton A. Ryder
7647 N. Fresno Street
Fresno CA 93720

Scott M. Reddie
PU Box 28912
Fresno CA 93 729-8912




                                         - 18 -
